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 1                                                     THE HONORABLE RICARDO S. MARTINEZ
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
      SEDRICK DEWAYNE ALTHEIMER,
10
                                    Plaintiff,               Case No. 2:21-cv-01437-RSM
11     v.
12                                                           PLAINTIFF’S RESPONSE
      PIERCE COUNTY, WASHINGTON, and                         TO DEFENDANT EDWARD C.
13    PIERCE COUNTY SHERIFF EDWARD C.                        TROYER’S MOTION TO STAY
      TROYER, (a/k/a Ed Troyer), in his individual
14    and official capacity,                                 NOTE ON MOTION CALENDAR:
                                                             JANUARY 7, 2022
15                                  Defendants.
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18                                        I.      INTRODUCTION

19          Plaintiff Sedrick Dewayne Altheimer does not object to the proposed stay in the civil

20   proceedings to accommodate Defendant Troyer’s criminal trial, but he does object to the civil trial

21   being set more than a year after the conclusion of the criminal trial. Plaintiff requests that if

22   Defendant Troyer’s stay is granted, the Court order the civil trial to commence on April 3, 2023.

23                                  II.        STATEMENT OF FACTS

24          On January 27, 2021, Defendant Edward C. Troyer, Pierce County Sheriff, began stalking

25   Plaintiff Sedrick Dewayne Altheimer, a Black man who was engaged in his job delivering

26   newspapers in Defendant Troyer’s neighborhood as he had routinely done for the previous six years.

      PLAINTIFF’S RESPONSE TO DEFENDANT                               SUSAN B. MINDENBERGS
      EDWARD C. TROYER’S MOTION TO STAY                                      ATTORNEY AT LAW
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 1   Defendant Troyer contacted an emergency dispatch back line to falsely report that Mr. Altheimer

 2   had threated to kill Defendant Troyer. Approximately 40 police units responded to the report that

 3   the Pierce County Sheriff’s life had been threatened. When the Tacoma Police arrived and

 4   questioned Defendant Troyer, Defendant Troyer admitted to the investigating officer that he lied

 5   about Mr. Altheimer threatening his life.

 6          Governor Jay Inslee ordered that the Washington State Attorney General’s Office investigate

 7   the false reporting incident. The Attorney General’s Office has filed criminal charges of false

 8   reporting and making a false statement against Defendant Troyer. The criminal trial of the matter

 9   is scheduled to begin on July 11, 2022. Plaintiff Altheimer filed his civil lawsuit against Defendants

10   Troyer and Pierce County in September 2021. No trial date has been set. The parties have submitted

11   a Joint Status Report to the Court. Plaintiff Altheimer has requested a trial date of April 3, 2023.

12   Defendants are seeking a trial date of September 5, 2023—approximately 14 months after

13   conclusion of the criminal trial currently scheduled for July 11, 2022.

14                                      III.         ISSUE PRESENTED

15          Should the Court set an April 3, 2023, trial date for the civil matter currently pending?

16                                             IV.     ARGUMENT

17          “A district court has discretionary power to stay proceedings in its own court under Landis

18   v. North American Co.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005) (citing

19   Landis v. North American Co., 299 U.S. 248, 254 (1936)). When deciding whether to grant a stay

20   when criminal charges are pending, the Court should weigh the “competing interests which will be

21   effected by the granting or refusal to grant a stay,” including “the possible damage which may result

22   from the granting of a stay, the hardship or inequity which a party may suffer in being required to

23   go forward, and the orderly course of justice measured in terms of the simplifying or complicating

24   of issues, proof, and questions of law which could be expected to result from a stay.” See Lockyer,

25   398 F.3d at 1110 (quoting CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)).

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 1          Here, Plaintiff Altheimer does not object to Defendant Troyer’s request to stay the

 2   proceedings until his criminal trial concludes, but he does object to the matter being continued for

 3   approximately 14 months after the conclusion of the criminal proceedings. This civil case is not a

 4   complicated case. The case revolves around Defendant Troyer’s actions on January 27, 2021, Pierce

 5   County’s policies, and Plaintiff Altheimer’s damages. Nine months is sufficient time to conduct all

 6   the requisite discovery and prepare for trial in this uncomplicated civil matter. Delaying the civil

 7   case an additional five or six months will be an unnecessary continuation and will be prejudicial to

 8   Plaintiff Altheimer. Witnesses’ memories fade or they move out of the jurisdiction, the costs of

 9   litigation increase during these types of unnecessary delays, and the emotional trauma of the event

10   lingers for another one-half year without any type of vindication.

11          Courts have routinely considered claims that excessive delay has resulted in a denial
            of due process. See, e.g., Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 547,
12          105 S.Ct. 1487, 84 L.Ed.2d 494 (1985) (delay of administrative hearing would at
13          some point become a constitutional violation); Fusari v. Steinberg, 419 U.S. 379,
            389, 95 S.Ct. 533, 42 L.Ed.2d 521 (1975) (length of delay important factor); Kraebel
14          v. NYC Dep't of Housing Pres. and Dev., 959 F.2d 395, 405 (2d Cir.1992); Schroeder
            v. City of Chicago, 927 F.2d 957, 960 (7th Cir.1991) (“Justice delayed is justice
15          denied, the saying goes: and at some point delay must ripen into deprivation, because
            otherwise a suit alleging deprivation would be forever premature.”)
16

17   Veterans for Common Sense v. Shinseki, 678 F.3d 1013, 1038 (9th Cir. 2012). Here, justice delayed
18   is unnecessary and prejudicial to Plaintiff Altheimer.
19                                         V.      CONCLUSION
20          For all the reasons cited above, Plaintiff Altheimer respectfully requests this Court set a trial
21   date in the civil matter to April 3, 2023, irrespective of whether it grants or denies Defendant
22   Troyer’s Motion to Stay.
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 1       DATED this 3rd day of January 2022.

 2
                                           By: /s/ Susan B. Mindenbergs
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on January 3, 2022, the undersigned caused a true and correct copy of

 3   the foregoing document to be served in the manner indicated below upon the following

 4   individual(s):

 5      Gregory E. Jackson, WSBA #17541                       Legal Messenger
        Attorney for Defendant Pierce County, WA              Facsimile
 6      Jackson & Nicholson, P.S.                             Electronic Mail
        900 SW 16th Street, Suite 215                         USPS First Class Mail
 7                                                            UPS Shipping
        Renton, WA 98057                                     ⊠ CM/ECF
 8      Telephone: (206) 582-6001
        Facsimile: (206) 466-6085
 9      Email: Greg@jnseattle.com

10      L. Clay Selby, WSBA #26049                            Legal Messenger
        Eric F. Schacht, WSBA #56342                          Facsimile
11                                                            Electronic Mail
        Attorneys for Defendant Edward C. Troyer
        Ledger Square Law, P.S.                               USPS First Class Mail
12                                                            UPS Shipping
        710 Market Street                                    ⊠ CM/ECF
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14      Facsimile: (253) 327-1700
        Email: Clay@LedgerSquareLaw.com
15
        Email: Eric@LedgerSquareLaw.com
16

17          The foregoing statement is made under the penalty of perjury under the laws of the United

18   States of America and the State of Washington and is true and correct.

19          DATED this 3rd day of January 2022.

20                                                 By: /s/ Christine A. Tobin
                                                   Christine A. Tobin, Paralegal
21
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22                                                 705 Second Avenue, Suite 1050
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